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                   UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                       FORT WORTH DIVISION

    STATE OF TEXAS,

         Plaintiff,

    v.                                             No. 4:21-cv-0579-P

    JOSEPH R. BIDEN, JR., IN HIS OFFICIAL
    CAPACITY AS PRESIDENT OF THE UNITED
    STATES OF AMERICA, ET AL.,

         Defendants.

                                  ORDER
         On April 8, 2022, the Court set the Parties’ Joint Motion for
    Scheduling Order for a telephonic hearing. See ECF No. 107. Having
    considered the docket, the Court CANCELS the telephonic hearing.

         The Court further RESETS the hearing regarding the Joint Motion
    to 3:00 p.m. on Wednesday, April 13, 2022, in the Fourth Floor
    Courtroom of the Eldon B. Mahon United States Courthouse, located at
    501 W. 10th Street, Fort Worth, Texas.

         SO ORDERED on this 11th day of April, 2022.




                 Mark T. Pittman
                 UNITED STATES DISTRICT JUDGE
